                   Case 1:10-cr-00094-PLM
     AO 472 Order of Detention Pending Trial
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                           WESTERN DISTRICT OF MICHIGAN
     UNITED STATES OF AMERICA             ORDER OF DETENTION
             V.                           PENDING TRIAL
     ANTHONY JERMAINE WILSON                                                                   Case Number:         1:10-CR-94

            In accordance with the Bail Reform Act, 18 U.S.C.§3142(f), a detention hearing has been held. I conclude that the following facts
     require the detention of the defendant pending trial in this case.
                                                                   Part I - Findings of Fact
              (1)      The defendant is charged with an offense described in 18 U.S.C. §3142(f)(1) and has been convicted of a (federal
                       offense) (state or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had
                       existed) that is
                             a crime of violence as defined in 18 U.S.C.§3156(a)(4).
                             an offense for which the maximum sentence is life imprisonment or death.
                             an offense for which the maximum term of imprisonment of ten years or more is prescribed in

                              a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18
                              U.S.C.§3142(f)(1)(A)-(C), or comparable state or local offenses.
             (2)      The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local
                      offense.
             (3)      A period of not more than five years has elapsed since the (date of conviction) (release of the defendant from imprisonment) for
                      the offense described in finding (1).
             (4)      Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably
                      assure the safety of (an)other person(s) and the community. I further find that the defendant has not rebutted this
                      presumption.
                                                                     Alternate Findings (A)
     ✘       (1)      There is probable cause to believe that the defendant has committed an offense
                       ✘     for which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C. § 801 et seq
                             under 18 U.S.C.§924(c).
     ✘       (2)      The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will
                      reasonably assure the appearance of the defendant as required and the safety of the community.
                                                                     Alternate Findings (B)
     ✘       (1)      There is a serious risk that the defendant will not appear.
     ✘       (2)      There is a serious risk that the defendant will endanger the safety of another person or the community.
                      Defendant is 33 years old and charged with distributing cocaine and maintaining a drug-involved premises. Defendant was
                      indicted in April 2010, but was not arrested until May 2014 in Sacramento, CA. Although he has a grandmother in Lansing,
                      and a girlfriend he has lived with "off and on" in Sacramento, his residential status has been transient for the past four years.
                      Defendant has never been married. Defendant has been unemployed since 2010 when he moved to California. He relies
                      on his significant other and family for money, but even his "significant other" could not clarify how he financially supports
                      himself. Defendant has no significant assets. Defendant has not been paying child support. (Continued on attachment)
                                           Part II - Written Statement of Reasons for Detention
I find that the credible testimony and information submitted at the hearing establishes by a preponderance of the evidence that
   no condition or combination of conditions will assure the appearance of the defendant for future court proceedings and by
   clear and convincing evidence that no condition or combination of conditions will assure the safety of the community because
   (a) defendant has not rebutted the rebuttable presumption and, in the alternative, even if the presumption could be said to be
   rebutted, (b) the government has nevetheless met both standards of proof where defendant has (continued on attachment)
                                                      Part III - Directions Regarding Detention
       The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections
  facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
  defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of the United States
  or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the defendant to the United
  States marshal for the purpose of an appearance in connection with a court proceeding.


    Dated:         July 11, 2014                                                                /s/ Hugh W. Brenneman, Jr.
                                                                                                                        Signature of Judicial Officer
                                                                                              Hugh W. Brenneman, United States Magistrate Judge
                                                                                                                     Name and Title of Judicial Officer

          *Insert as applicable: (a) Controlled Substances Act (21 U.S.C. §801 et seq. ); (b) Controlled Substances Import and Export Act (21 U.S.C. §951 et seq. ); or
    (c) Sectlon 1 of Act of Sept. 15, 1980 (21 U.S.C. §955a).
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Alternate Findings (B) - (continued)


Defendant uses marijuana on a daily basis, last using it on his day of arrest, May 25, 2014.

Defendant has a lengthy criminal history, including at least two felony convictions and five (probably six) misdemeanor
convictions. The two felony convictions are for delivery or manufacture of cocaine or heroin.




Part II - Written Statement of Reasons for Detention - (continued)

been at large for the past four years, has no ties to the community either here or in California sufficient to assure his
appearance at future court proceedings, has no employment or assets, has a lengthy criminal record, uses marijuana
on a daily basis despite the fact that he apparently has no resources for obtaining it, and because he apparently has
no serious ties even to his "significant other" in California, much less anyone else.
